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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                             )                Chapter 7
                                   )
DON KARL JURAVIN,                  )                Case No. 6:18-bk-6821-LVV
                                   )                Case No. 6:20-bk-1801-LVV
      Debtor.                      )                Jointly Administered with
__________________________________ )                Case No. 6:18-bk-6821-LVV
                                   )
BELLA COLLINA PROPERTY             )
OWNER’S ASSOCIATION, INC.,         )
                                   )
      Plaintiffs,                  )
                                   )
v.                                 )                Adv. Proc. No. 6:21-ap-00103-LVV
                                   )
DON KARL JURAVIN,                  )
                                   )
      Defendant.                   )
__________________________________ )

                MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
                    FOR DEFENDANT, DON KARL JURAVIN

                            NOTICE OF OPPORTUNITY TO
                         OBJECT AND REQUEST FOR HEARING

 If you object to the relief requested in this paper you must file a response with the Clerk of
 Court at 400 W. Washington Street, Suite 5100, Orlando, Florida 32801 within fourteen (14)
 days from the date of the attached proof of service, plus an additional three days if this paper
 was served on any party by U.S. Mail.

 If you file and serve a response within the time permitted, the Court will either notify you
 of a hearing date or the Court will consider the response and grant or deny the relief
 requested in this paper without a hearing. If you do not file a response within the time
 permitted, the Court will consider that you do not oppose the relief requested in the paper,
 and the Court may grant or deny the relief requested without further notice or hearing.

 You should read these papers carefully and discuss them with your attorney if you have one.
 If the paper is an objection to your claim in this bankruptcy case, your claim may be reduced,
 modified, or eliminated if you do not timely file and serve a response.

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       The undersigned, ALDO G. BARTOLONE, JR. and BARTOLONE LAW, PLLC

(collectively hereinafter “Counsel”), pursuant to Local Rule 2091-2, hereby file this Motion

for Leave to Withdraw as Counsel for Defendant, Don Karl Juravin (“Juravin”), and in support

thereof further state as follows:

       1.      Irreconcilable differences have arisen between Juravin and the undersigned.

       2.      The undersigned will be joining a law firm in South Florida and the new firm

has refused representation of Juravin in this case.

       3.      Juravin has been advised of the undersigned’s intent to withdraw and Juravin

has consented to the withdrawal.

       4.      Accordingly, the undersigned desires to relinquish and discharge any further

responsibility for the representation of Juravin in this case.

       5.      Juravin has requested a period of 60 days to obtain new counsel to represent him

in this adversary proceeding and, as such, withdrawal can be accomplished without material

adverse effect on the interests of Juravin.

       WHEREFORE, ALDO G. BARTOLONE, JR. and BARTOLONE LAW, PLLC,

respectfully request this Honorable Court enter an Order: (i) granting this Motion; (ii)

permitting Aldo G. Bartolone, Jr. and Bartolone Law, PLLC to withdraw from representing

Defendant, Don Karl Juravin, in this adversary proceeding; (iii) granting Juravin 60 days to

obtain new counsel; and (iv) granting any such further relief that this Court deems just and

proper under the circumstances.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was served

on all parties listed on the attached Service List, this 7th day of November, 2022.

                                            __/s/ Aldo G. Bartolone, Jr._____
                                            ALDO G. BARTOLONE, JR.
                                            Florida Bar No. 173134
                                            BARTOLONE LAW, PLLC
                                            13506 Summerport Village Pkwy.
                                            Suite 325
                                            Windermere, Florida 34786
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                                      SERVICE LIST


Don Karl Juravin
15118 Pendio Drive
Montverde, FL 34756

James A. Timko, Esq.
Shutts & Bowen LLP
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Orlando, FL 32801

All parties entitled to receive electronic notice via CM/ECF




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